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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


  MICHELLE A. GEERY,
                                                          Civil Action No.
         Plaintiff,                                       6:20-cv-01975-RBD-LRH

  v.

  ETHICON INC.,
  JOHNSON & JOHNSON,

         Defendants.


               PLAINTIFF’S MEMORANDUM IN OPPOSITION
           TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         Plaintiff Michelle Geery submits this response to Defendants’ Motion for

  Partial Summary Judgment. There are genuine issues of material fact as to

  Plaintiff’s failure-to-warn, fraud, and misrepresentation-based claims, 1 and as to

  the knowledge and conclusions regarding Prolift and TVT-O by implanting

  surgeon, Dr. Virgil Davila, that render summary judgment inappropriate. The

  remaining issues raised by Defendants have no legal or factual merit.


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    Ms. Geery will not pursue any causes of action for Negligent Infliction of Emotional Distress
  (Count X), fraudulent concealment (Count VII), Constructive Fraud (Count VIII), or Consumer
  Protection (XIII) and has previously stipulated to the dismissal of her claims related to Count I:
  Negligence (as to Manufacturing Defect); Count II: Strict Liability – Manufacturing Defect;
  Count IV: Strict Liability – Defective Product (except to the extent the latter encompasses design
  defect and failure to warn); Count XI: Breach of Implied Warranty; Count XII: Breach of
  Express Warranty; and Count XV: Unjust Enrichment. Ms. Geery has thus not responded to
  Defendants’ arguments against these claims.
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                   PLAINTIFF’S STATEMENT OF DISPUTED
                        MATERIAL FACTS (“SDMF”)

     A. Plaintiff’s Experience with Mesh

        1.    On May 16, 2006, Plaintiff was implanted with Defendants’ Prolift

  (anterior and posterior) and TVT-O synthetic mesh devices by Dr. Virgil Davila.

  Ex. 1, Med. Rec. GEERYM_SOUSH_MDR00036.

        2.    Plaintiff initially presented to Dr. Davila with “symptomatic

  relaxation and stress urinary incontinence.” Ex. 1, Med. Rec.

  GEERYM_SOUSH_MDR00036; Ex. 1, Med. Rec.

  GEERYM_SOUSH_MDR00039.

        3.    Since being implanted with the Prolift and TVT-O, Plaintiff has

  undergone three surgeries to remove portions of the mesh, in 2015, 2016, and

  2017. Ex. 1, Med. Rec. GEERYM_ADVAURO_MDR00187-88; Ex. 1, Med. Rec.

  GEERYM_UFHWCP_MDR00017-19; Ex. 1,

  GEERYM_ADVAURO_MDR00329. Plaintiff’s injuries caused by the defective

  meshes include chronic pelvic pain, dyspareunia, neuromuscular pain, vaginal

  shortening, nerve pain, and pelvic floor spasms, among other injuries. Plaintiff has

  additionally undergone pelvic floor therapy and pain management—including both

  injections and medication management. See Ex. 2, Plaintiff’s Fact Sheet.

     B. Dr. Davila’s Experience with Defendants’ Prolift Device

        4.    Prior to implanting Defendants’ mesh devices in Plaintiff, Dr. Davila


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  attended Ethicon training sessions on the Prolift and TVT-O devices. Ex. 3,

  deposition of Virgil Davila, M.D., July 18, 2019, at 17:23-18:25; 55:24-56:3.

        5.     Prior to implanting Defendants’ mesh devices in Plaintiff, Dr. Davila

  reviewed the package insert—also known as the Instructions for Use (“IFU”)—for

  the Prolift and TVT-O devices. Dr. Davila testified the IFU was an important

  document which contained the warnings and contraindications for the mesh

  devices, and that he relied on the warnings and contraindications in the IFUs when

  advising his patients of the risks and benefits of the devices and whether to use

  them. Ex. 3, Davila Dep. at 22:1-23:23.

        6.     Dr. Davila testified that, even as an “early user” of the Prolift device,

  he did not know that the Prolift device had not been cleared by the FDA. Ex. 3,

  Davila Dep. at 26:8-14. He did not learn that Prolift was not cleared by the FDA

  until May 2008, and he testified that he would have liked to have known that when

  he implanted Plaintiff with the Prolift device in 2006. Id. at 25:15-25.

        7.     Dr. Davila stopped using the Prolift in his practice in 2007 because it

  was not in the best interests of his patients. Ex. 3, Davila Dep. at 33:1-7-34:9-16.

     C. Dr. Davila’s Knowledge of the Prolift and TVT-O Devices

        8.     The warnings provided in the Prolift IFU, which were consistent with

  information provided during Defendants’ training, described the inflammatory

  response to the device as “transient,” which Dr. Davila knew to mean short-lived.



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  During the time he was using the Prolift, Dr. Davila believed, based on the IFU,

  that his patients’ body’s inflammatory reaction to the device would be temporary

  and not permanent, chronic, and/or lifelong. Ex. 3, Davila Dep. at 53:2-55:10;

  151:10-151:22.

        9.    Dr. Davila testified he did not know of the following risks of Prolift at

  the time he implanted Ms. Geery, and that had he known of these risks, he would

  have advised Ms. Geery of them during his risk/benefit discussions with her:

        a. The original study on Prolift failed its primary endpoint. (Ex. 3 at
           37:13-38-10.)
        b. Ethicon’s chief medical director believed a reasonable argument
           could be made that the risks of Prolift outweighed the benefits at
           the time of launch. (Ex. 3 at 38:11-39:10.)
        c. Ethicon never investigated mesh contraction prior to launching
           Prolift. (Ex. 3 at 39:11-40:6.)
        d. Ethicon knew the contraction rate of Prolift was 20-40%. (Ex. 3 at
           40:7-41:24.)
        e. Ethicon never investigated the risk of chronic pain with the Prolift.
           (Ex. 3 at 40:25-41-21.)
        f. The inventors of Prolift’s main concern with the device was
           contraction and they wanted to create a new material before the
           Prolift was ever launched. (Ex. 3 at 42:9-43:1.)
        g. Ethicon medical director Axel Arnaud believed if exposure and
           shrinkage were due to the mesh, the material should have been
           changed and never put in the Prolift. (Ex. 3 at 43:2-43:24.)
        h. Ethicon launched Prolift without studying whether the Prolift mesh
           could be removed if complications arose with the mesh. (Ex. 3 at
           43:25-44:14.)
        i. Ethicon medical director Axel Arnaud wanted to change the Prolift
           package insert (IFU) to include a warning that use of mesh could
           lead to complications such as vaginal erosion and retraction which
           could interfere with sexual intercourse, but Ethicon never made the
           change. (Ex. 3 at 50:7-51:23.)
        j. Ethicon knew there was a risk of pelvic pain in patients which may


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           not resolve regarding the mesh. (Ex. 3 at 152:14-154:6.)
        k. Ethicon knew there was a risk of pain with intercourse which in
           some patients may never resolve. (Ex. 3 at 152:14-154:6.)
        l. Ethicon knew there was a risk of excessive shrinking or
           contraction around the mesh that could cause vaginal scarring,
           vaginal tightening and potentially vaginal shortening. (Ex. 3 at
           152:14-154:6.)

        10.   The warnings provided in the TVT-O IFU were consistent with what

  Ethicon taught Dr. Davila at his Ethicon training about the risks of the device. The

  TVT-O warnings also described the inflammatory response to the device as

  “transient.” It was Dr. Davila’s understanding at the time he implanted the TVT-O

  that his patients’ inflammatory reactions to the device would be temporary and not

  permanent, chronic, and/or lifelong. Ex. 3, Davila Dep. at 53:2-55:10 (generally);

  60:13-62:18; 151:10-22).

        11.   Dr. Davila testified he did not know of the following risks of TVT-O

  at the time he implanted Ms. Geery and had he known of the following risks, he

  would have advised Ms. Geery of them during his risk/benefit analysis with her:

        a. Ethicon knew there was a risk of pain with intercourse which in
           some patients may never resolve. (Ex. 3 at 69:13-19; 71:7-21.)
        b. Ethicon knew there was a risk of acute and/or chronic pain. (Ex. 3
           at 69:20-21; 71:7-21.)
        c. Ethicon knew there was a risk of neuromuscular problems,
           including acute and/or chronic pain in the groin, leg, pelvic and
           abdominal area. (Ex. 3 at 69:22-25; 71:7-21.)
        d. Ethicon knew there was a risk of one or more revision surgeries
           may be necessary because of these adverse reactions. (Ex. 3 at
           70:1-4; 71:7-21.)
        e. Ethicon knew there was a risk in some cases in which the mesh
           needs to be removed in part or whole, significant dissection may be


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           required. (Ex. 3 at 70:5-8; 71:7-21.)
        f. Ethicon knew there was a risk of excessive contraction or
           shrinkage of the tissue surrounding the mesh. (Ex. 3 at 70:12-17;
           71:7-21.)
        g. Dr. Davila was taught by Ethicon (through training and the IFU)
           that any inflammatory reaction from the TVT-O would be
           temporary and any complication regarding the inflammation would
           be temporary as opposed to permanent and lifelong. (Ex. 3 at
           62:4-13.)

        12.    Dr. Davila testified that the frequency, severity, treatability, and

  potential permanency of risks from medical devices is important, and he (and

  through him his patients) deserved to know what Ethicon knew about each of those

  topics. These risks were not warned of by Ethicon. Ex. 3, Davila Dep. at 146:5-

  147:24.

        13.    Michelle Geery would not have agreed to have the Prolift or TVT-O

  implanted in her, and thus would never have been injured by the products, had Dr.

  Davila advised her of the risks listed in Paragraphs 10 and 12. Ex. 4, Affidavit of

  Michelle Geery, dated August 28, 2019. However, Dr. Davila could not have

  warned Plaintiff of these risks because he was not informed of them at the time of

  Plaintiff’s implant.

                    SUMMARY JUDGMENT STANDARD

        Under Rule 56, “[t]he court shall grant summary judgment if the movant

  shows that there is no genuine dispute as to any material fact and the movant is

  entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). An issue of fact is



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  “‘genuine’ only if a reasonable jury, considering the evidence presented, could find

  for the nonmoving party.” In re Mentor Corp. Obtape Transobturator Sling Prods.

  Liab. Litig., 748 F. App’x 212, 215 (11th Cir. 2018) (quoting Atheists of Fla., Inc.

  v. City of Lakeland, 713 F.3d 577, 589 (11th Cir. 2013)). When the Court

  evaluates a summary judgment motion, “[t]he evidence of the non-movant is to be

  believed, and all justifiable inferences are to be drawn in his favor.” Anderson v.

  Libby Lobby, 477 U.S. 242, 255 (1986).

                                      ARGUMENT

     I.      Florida Substantive Law Applies to Plaintiff’s Substantive Claims,
             But New Jersey Law Applies to Plaintiff’s Punitive Damages Claim.

          Here, Plaintiff agrees with Defendants that Florida has the most significant

  relationship to Plaintiff’s substantive claims. However, Plaintiff believes that New

  Jersey law should apply to Plaintiff’s request for punitive damages. It is

  uncontroverted that both Defendants are incorporated and headquartered in New

  Jersey, and that is where the decisions concerning the design, marketing,

  distribution, and labeling (i.e., the tortious conduct) occurred. In Smith v. Ethicon,

  Inc. et al., Case No. 4:20cv394-MW/MAF (N.D. Fla. Dec. 28, 2020), a case

  involving the TVT-O and similar allegations of tortious conduct, a Florida district

  court held that New Jersey law applied to plaintiff’s claim for punitive damages,

  reasoning that “Florida courts apply the ‘most significant relationship’ test, not to a




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  collectively sum of issues in dispute, but to each individual issue which arises in

  [a] case.” Id. (quoting Judge v. Am. Motors Corp., 908 F.2d 1565, 1578 (11th Cir.

  1990) and citing Bishop v. Fla. Specialty Paint Co., 389 So. 2d 999 (Fla. 1980)).

  Moreover, “[c]ourts applying Florida choice-of-law principles have repeatedly

  emphasized the deterrence rationale underlying punitive damages and concluded

  that the place of tortious conduct is more important than the place of injury when

  deciding which state’s law should govern punitive damages.” Id. (citing Salinero

  v. Johnson & Johnson, 408 F. Supp. 3d 1357 (S.D. Fla. 2019; Krause v. Novartis

  Pharm. Corps., 926 F. Supp. 2d 1306, 1310-12 (N.D. Fla. 2013)).

           Here, the place of injury—Florida—is “simply fortuitous.” Id. (citation

  omitted). New Jersey’s interest in deterring Defendants’ tortious conduct

  outweighs any interest Florida may have. As such, New Jersey law should apply

  to Plaintiff’s request for punitive damages.

     II.      Plaintiff is Not Pursuing her Manufacturing Defect Claim.

           In light of the Court’s consistent rulings across these pelvic mesh MDLs as

  to manufacturing defect, Plaintiff does not intend to pursue a separate claim for

  “manufacturing defect,” as such claim has been construed by the Court (not

  manufactured in accordance with design, or departure from manufacturer’s design

  specifications). Ex. 5, Cisson, C.A. No. 2:11-cv-00195, Dkt. No. 272

  (Memorandum Opinion and Order, Bard Motion for Partial Summary Judgment),



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  p. 8; see also Ex. 6, Tyree v. Boston Scientific Corp., Case 2:12-cv-08633, Dkt. No.

  446, pp. 5-6.

        However, in support of Plaintiff’s negligence, failure to warn, and punitive

  damages claims, Plaintiff intends to present evidence that Ethicon’s manufacturing

  process and the raw materials used in the manufacture of the Gynemesh PS, Prolift,

  TVT-O, and TVT products resulted in defects in the product. This is consistent

  with the Court’s prior rulings. See e.g., Ex. 5, Cisson, C.A. No. 2:11-cv-00195,

  Dkt. No. 272 (Memorandum Opinion and Order, Bard Motion for Partial Summary

  Judgment), p. 8. Although not contesting Ethicon’s motion as to “manufacturing

  defect,” Plaintiff does not forego, waive, or in any way agree that any evidence

  relating to Ethicon’s manufacturing process and raw materials should be excluded

  or restricted in advance of trial.

     III.   The Court Should Deny Defendants’ Motion for Partial Summary
            Judgment on Plaintiff’s Negligence and Strict Liability Failure-to-
            Warn Claims.
        The record evidence is replete with facts showing that Defendants are not

  entitled to partial summary judgment on Plaintiff’s failure-to-warn claims. To

  establish a failure-to-warn claim, a plaintiff must prove that the “defendant (a) is a

  manufacturer or distributor of the product at issue, and (b) did not adequately warn

  of a particular risk that was known or knowable in light of the generally recognized

  and prevailing best scientific and medical knowledge available at the time of the




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  manufacture and distribution.” Thomas v. Bombardier Recreational Prods., Inc.,

  682 F. Supp. 2d 1297, 1300 (M.D. Fla. 2010) (citation omitted).

        The “sufficiency and reasonableness of a manufacturer’s warnings are

  questions of fact which are best left to the jury to decide unless the warnings are

  accurate, clear and unambiguous.” Scheman-Gonzalez v. Saber Mfg. Co., 816 So.

  2d 1133, 1139-40 (Fla. Dist Ct. App. 2002). For example, in Union Carbide Corp.

  v. Kavanaugh, 879 So. 2d 42, 45-46 (Fla. Dist. Ct. App. 2004), the manufacturer

  gave “some warning,” but “did not fully disclose the magnitude of the hazards then

  known to exist.” The Florida appellate court affirmed the order denying directed

  verdict because the manufacturer supplied only “limited information.” Id. at 46.

  As in Kavanaugh, the adequacy of the warning was for the jury to decide. Zanzuri

  v. G.D. Searle & Co., 748 F.Supp 1511, 1516 (S.D. Fla. 1990)(holding a fact

  question existed on the adequacy of warnings for an intrauterine device that

  provided “a qualified warning, the adequacy of which must be resolved through a

  highly intensive factual inquiry).

        When the device at issue is a prescription drug or medical device, Florida

  law provides that the manufacturer’s duty to warn is extended to the patient’s

  physician rather than the patient (the Learned Intermediary Doctrine). Zanzuri at

  1517; Ocasio v. C.R. Bard, Inc., 2015 WL 3496062, at *4 (M.D. Fla. June 3,

  2015). In essence:



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        [t]he manufacturer’s duty to warn of drug hazards runs to the
        physician, not directly to the patient. The learned intermediary rule
        provides that the failure of the manufacturer to provide the physician
        with an adequate warning of the risks associated with a prescription
        product is not the proximate cause of a patient’s injury if the
        prescribing physician had independent knowledge of the risk that the
        adequate warning should have communicated.

  Christopher v. Cutter Labs., 53 F.3d 1184, 1192 (11th Cir. 1995) (citing Felix v.

  Hoffmann–LaRoche, Inc., 540 So. 2d 102, 104 (Fla. 1989)) (internal citations

  omitted).

        Here, the prescribing physician, Dr. Davila, has testified that, in 2006, he did

  not have independent knowledge of the omitted risk information he believes

  Ethicon should have communicated to him, and that he would have given Plaintiff

  different warnings if he had had more information. SDMF ¶¶ 9-14. Plaintiff

  verified that she would have made a different treatment decision had she been

  offered more complete information. SDMF ¶14.

        Where there is even the “slightest doubt” that the physician would have

  altered his treatment of the patient based on different or additional warnings—

  either in deciding not to use the product or just passing along a more detailed

  warning to the patient—Defendants’ Motion must be denied. Scheibe v. Bank of

  Am., N.A., 822 So. 2d 575, 575 (Fla. 5th DCA 2002). See e.g., Guenther v.

  Novartis Pharms. Corp., 2014 WL 657919, at *2–3, (M.D. Fla. Feb.20, 2014)

  (denying motion on proximate cause issue under Florida law where there was



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  sufficient evidence that a different warning could have prevented the plaintiff's

  injury by “prompting the physician to pass along a more detailed warning”);

  Kirchman v. Novartis Pharm. Corp., 2014 WL 2158519, at *19 (M.D. Fla. May

  23, 2014) (denying summary judgment on the issue of proximate cause because

  there was evidence from which “a reasonable juror could find that [the prescribing

  physician], had he been adequately warned, would have changed his prescribing

  practices by giving different warnings or instructions to [the plaintiff]” and that the

  plaintiff, “had he been given different warnings or instructions, would have

  declined [the drug]”); Toole v. McClintock, 999 F.2d 1430, 1433 (11th Cir. 1993)

  (holding that, under Alabama’s learned intermediary doctrine, “[t]he jury . . . could

  reasonably conclude that a different warning would have caused [the physician] to

  warn [the plaintiff of possible rupture] before her augmentation surgery.”).

        Dr. Davila was not alone in thinking that the warnings in the IFU and

  physician training were insufficient. With respect to the Prolift, Plaintiff’s general

  expert, Dr. Dan Elliot—a urogynecologist at Mayo Clinic—unequivocally opined

  that the IFU warnings of the Prolift were inadequate:

        Each of the risks, adverse reactions, contraindications, [] warnings,
        and the clinical consequences, should have been clearly placed
        and stated in the IFU so that the patients’ implanting surgeon
        would be fully informed and so the patient could have been
        informed. The following lists inadequacies in the development of
        the Prolift and the information provided to physicians and
        patients: [Deficiencies enumerated]. . .



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        It is my opinion to a reasonable degree of medical probability that
        Ethicon did not fully disclose the above risks and those discussed
        in this report, in its IFU and to surgeons and thereby denied the
        patient the right to full information about her surgery. This is true
        despite the information being readily available and known to
        Ethicon about these risks, which predate the launch of the device.
  Ex. 7, Elliott Prolift General Report at pgs. 53-57.
        Defendants failed to inform Dr. Davila, through the IFU or physician

  training, of many of the risks Dr. Elliot indicated in his report were known to

  Defendants. The myriad of specific risks regarding the Prolift device, known to

  Defendant, that Dr. Davila testified he would have advised Ms. Geery of during his

  risk/benefit analysis with her if he had known them at the time of her implant are

  contained within paragraphs 9-10, 13, & 14 of the SDMF above.

        Similarly, with respect to the TVT-O, the IFU and Dr. Davila’s device

  training failed to describe certain risks associated with using the TVT-O device.

  Again, Dr. Elliot has unequivocally opined that the IFU warnings of the TVT-O

  were inadequate. Among other deficiencies, Defendants failed to disclose the risks

  of: chronic pelvic pain, permanent dyspareunia, permanent sexual dysfunction,

  injury and pain to partner during sexual intercourse, negative impact on sexual

  function, vagina anatomic distortion, inability to remove the device, permanent

  risks for erosions, surgical interventions, development of worsening incontinence

  and urinary dysfunction. Defendant failed to advise that the TVT-O mesh could

  rope, curl, fray, degrade, contract, or cause a chronic inflammatory or foreign body



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  reaction. “Ethicon also failed to include warnings in its IFU related to the increased

  risk of mesh extrusion in women with prior vaginal surgeries, vaginal atrophy,

  vaginal injury, pre-existing pelvic pain disorders, immune-compromised and post-

  operative infection.” Ex. 8, Elliott TVT-O General Report Exhibit 5 at 37-40.

        Dr. Elliott noted that his review of internal documents and the depositions of

  Ethicon employees revealed that Ethicon was aware of these risks before or at the

  time the TVT-O was first marketed and sold. For example:


               Ethicon states in its IFU that the mesh is not subject to
               degradation, which is also inconsistent with Ethicon
               internal studies and documents and scientific studies
               examining mesh degradation. In short, Ethicon not only
               failed to disclose certain risks associated with the
               product, it downplayed or inaccurately portrayed issues
               related to the mesh in the IFU. Ethicon prevented
               physicians from being able to have an appropriate and
               accurate informed consent discussion with their patients
               by concealing and misrepresenting this type of
               information. As a result, numerous patients have
               suffered injuries from the TVT-O device that were not
               disclosed to them as potential adverse risks related to the
               TVT-O.

   Ex. 8, Elliott TVT-O General Report Exhibit 5 at 37-40.

        As with the Prolift, Defendants failed to inform Dr. Davila of many of the

   risks associated with use of the TVT-O that Dr. Elliot described. These risks

   were not described within the TVT-O IFU or Dr. Davila’s training with

   Ethicon. The myriad of specific risks of the TVT-O Dr. Davila testified he



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      would have advised Ms. Geery of during his risk/benefit analysis with her if he

      had known them at the time of her implant are contained in SDMF, ¶¶ 11-14

      above. Because of Defendants’ failure to include these identified risks in the

      TVT-O IFU and training materials, Dr. Davila was unable to adequately inform

      Plaintiff of the true risks associated with use of the TVT-O. Plaintiff has

      indicated that she would have made different treatment decisions had she been

      aware of all the risks known to Defendants.

           Had Dr. Davila known of the aforementioned risks of Prolift and TVT-O,

      he would have included them in his risk/benefit discussion with Ms. Geery, thus

      informing her of all the possible risks associated with these products, and Ms.

      Geery would never have agreed to have the Prolift or TVT-O implanted in her

      and thus would never have been injured by the products. 2 Ex. 4, Affidavit of

      Michelle Geery. This testimony is sufficient under Florida law to at the very

      least create a genuine issue for trial to be resolved by a jury. See e.g., Toole at

      1433; Guenther at 1304; and Kirchman at *19.

           This case is squarely on point with another recently-decided case

      involving transvaginal mesh products decided under Florida law. Eghnayem v.

      Boston Scientific Corp., 873 F.3d 1304 (11th Cir. 2017). In Eghnayem, the

      Plaintiff was implanted with Boston Scientific Corp.’s mesh device, the

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   And to reiterate, at least with respect to the Prolift, Dr. Davila stopped using the Prolift in his
  practice in 2007 because it was not in the best interests of his patients. Ex. 3, Davila Dep. at
  33:1-7-34:9-16.


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   Pinnacle. Id. at 1311. Boston Scientific Corp. argued its warnings were

   adequate and sufficiently clear so they merited judgment as a matter of law.

   However, the court held that the Pinnacle warnings (which are similar to the

   warnings for the Prolift and TVT-O) did not meet that standard and affirmed the

   Plaintiffs’ verdict. Boston Scientific Corp additionally argued, as Ethicon does

   here, that Plaintiff fails to show the inadequate warnings caused her injuries.

   Boston Scientific Corp “argues that she (Eghnayem) failed to show that the

   inadequate warnings affected her doctor’s decision to use the Pinnacle, but her

   doctor testified that he would have liked to know the risk of mesh contracture,

   acute and permanent inflammation, and chronic pain, and that had he known he

   would have had ‘concerns about [ ] using [the Pinnacle] in a patient’ and would

   have discussed those concerns with Eghnayem. This testimony does not ‘point

   so overwhelmingly in favor of’ BSC that no reasonable jury could find that the

   failure to warn proximately caused Eghnayem’s injuries. Slicker v. Jackson, 215

   F.3d 1225, 1229 (11th Cir. 2000) (quotation omitted).” Id. at 1323.

        The evidence in this case is strikingly similar to the evidence from

  Eghnayem. With Rule 56 motions, the Court’s function is not “to weigh the

  evidence and determine the truth of the matter;” rather, the Court’s function is to

  “determine whether there is a genuine issue for trial.” Anderson v. Liberty Lobby,

  Inc., 477 U.S. 242, 249 (1986). Plaintiff has sufficiently established genuine issues

  that are properly reserved for resolution by a jury. Thus, Defendants’ Motion for


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  Partial Summary Judgment on Plaintiff’s Negligence and Strict Liability Failure to

  Warn claims is due to be denied.

     IV.    Plaintiff’s Fraud and Misrepresentation-Based Claims Are
            Cognizable Under Florida Law and Are Sufficiently Supported by
            Record Evidence (Counts XI and XII).
        Defendants attempt to lean on the learned intermediary doctrine in arguing

  that Plaintiff’s fraud and misrepresentation claims fail. But, this argument misses

  the mark. Defendants failed to provide Dr. Davila with adequate and necessary

  information about the true risks associated with its Prolift and TVT-O devices.

  This failure precludes Defendants from relying on the learned intermediary

  doctrine to bar Plaintiff’s claims. At the very least, Plaintiff has sufficiently

  established that there are disputed issues of fact surrounding Defendants’

  misrepresentations of the safety and efficacy of their products to both physicians

  and consumers, and whether they knew such representations to be false.

        As to Plaintiff’s fraud- and misrepresentation-based claims, the evidence

  overwhelming shows that Defendants failed to fully inform physicians and

  consumers of the dangers associated with the Prolift and TVT-O devices, that they

  knew the information they provided to physicians in both the IFUs and training

  sessions was false, that Dr. Davila relied on their false claims, and Plaintiff was

  harmed as a result thereof. As such, Defendants cannot persuasively argue that the

  learned intermediary doctrine bars Plaintiff’s claims when Dr. Davila was unaware



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  of the serious and prevalent risks that accompany the Prolift and TVT-O devices.

  Another court in this Circuit has found such misrepresentations to be sufficient to

  withstand summary judgment, even in light of the learned intermediary doctrine.

  See Aldridge v. Ethicon, Inc., 2020 WL 1308335, at *5 (S.D. Ala. March 19, 2020)

  (holding, with respect to the plaintiff’s fraud and misrepresentation claims, the

  “[the] plaintiff’s evidence is that Ethicon fraudulently misrepresented or

  suppressed known risks about the Prolift and Abbrevo products in the warnings

  given to [the plaintiff’s physician], the learned intermediary. The record in the

  light most favorable to plaintiff supports a reasonable inference that [the plaintiff’s

  physician] reasonably relied on the accuracy and completeness of those warnings,

  and that [the plaintiff] reasonably relied on her prescribing health-care professional

  . . . . Accordingly, summary judgment is not appropriate on the fraud /

  misrepresentation claims.”).

        Moreover, Defendants seemingly attempt to argue a lack of causation as to

  Plaintiff’s fraud and misrepresentation-based claims. Not only is it difficult to

  decipher what Defendants are arguing, as there is a complete lack of record

  evidence cited to support this contention, but the record evidence clearly shows

  that, had Dr. Davila been fully aware of all the risks associated with Defendants’

  Prolift and TVT-O devices, he would have adequately informed Plaintiff of the

  true risks associated with the Prolift and TVT-O, she would not have been



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  implanted with the devices, and she would not have suffered her injuries.

           Consequently, Defendants’ Motion for Partial Summary Judgment as to

  Plaintiff’s claims for fraud (Count VI), negligent misrepresentation (Count IX),

  and consumer fraud (Count XIII) should be denied.

      V.      Plaintiff Concedes that Her Claim for Gross Negligence Cannot
              Survive as a Standalone Cause of Action Under Florida Law
           Plaintiff believes that New Jersey Law applies to her request for punitive

  damages. However, should the Court determine that Florida law, rather than New

  Jersey law applies to the issue of punitive damages in this case, Plaintiff has pled

  gross negligence as a mechanism for acknowledging the requisite burden of proof

  for punitive damages under Florida law. 3 Until such a determination is made by

  this Court, Plaintiff reserves the right to assert and establish an independent cause

  of action for gross negligence on the part of Defendants.

                                        CONCLUSION

           In light of the foregoing, Plaintiff respectfully requests that the Court enter

  an Order denying Defendants’ Motion for Partial Judgment with regard to her

  claims for failure to warn (Count I – negligence and Count III – strict liability);

  design defect (Count I – negligence and Count V – strict liability); fraud- and


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    “Under Florida law, ‘[a] defendant may be held liable for punitive damages only if the trier of
  fact, based on clear and convincing evidence, finds that the defendant was personally guilty of
  intentional misconduct or gross negligence.’” Taylor v. Mentor Worldwide LLC, 940 F.3d 582,
  596 (11th Cir. 2019) (quoting Fla. Stat. § 768.72(2)). Plaintiff has more than enough factual
  evidence in this case to show gross negligence on the part of Defendants.


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  misrepresentation-based claims (Counts VI – fraud and Count IX – negligent

  misrepresentation); and Punitive Damages (Count XVII).



  Dated: March 17, 2021                  /s/ Daniel J. Thornburgh
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                           CERTIFICATE OF SERVICE

        I hereby certify that on March 17, 2021, I electronically filed the forgoing

  document with the Clerk of Court using CM/ECF, which will send notification of

  such filing to the CM/ECF participants registered to receive service in this case.


                                         /s/ Daniel J. Thornburgh
                                         Daniel J. Thornburgh




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